                                                                     U.S. DISTRICT COURT
          Case 9:24-cv-00394-GTS-ML Document 3 Filed 03/22/24 Page 1 of 16N.D. OF N.Y.
                                                                                                   FILED
                                                                                               January 5, 2024
                                                                                         JOHN M. DOMURAD, CLERK


                                UNITED STATES DISTRICT COURT
                                          FOR THE
                               NORTHERN DISTRICT OF NEW YORK

                                       GENERAL ORDER #25

                      CIVIL CASE ASSIGNMENT & FILING ORDER




                                                 NOTICE
     THE ATTACHED FILING ORDER IS A TIME SENSITIVE DOCUMENT

This filing order is to be served on all parties to the action along with the complaint or petition for
removal within sixty (60) days of filing the action.

The attached Civil Case Management Plan must be completed and filed with the Clerk no later than
seven (7) days prior to the conference date referenced below.


CASE NUMBER:                             9:24-cv-394 (GTS/ML)

CONFERENCE DATE/TIME:                    July 24, 2024 at 2:30

CONFERENCE LOCATION:                     Telephone Conference

BEFORE MAGISTRATE JUDGE:                 Hon. Miroslav Lovric

NOTE: ALL CIVIL ACTIONS SHALL BE REFERRED INTO THE NORTHERN DISTRICT’S
MANDATORY MEDIATION PROGRAM EXCEPT THOSE CASES THAT HAVE BEEN
DESIGNATED AS EXEMPT UNDER SECTION 2.1 (A) OF GENERAL ORDER #47. If the
ADR track below has been checked, this case will be referred into the Mandatory Mediation Program.
Counsel are directed to review the Mandatory Mediation Plan prior to the Rule 16 Conference. Please
refer to General Order #47 - Mandatory Mediation Program which is available on the Court’s website at
www.nynd.uscourts.gov.

              Conventional Track             X                      ADR Track

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1.     Case Assignment and Filing Locations
2.     General Order #25 (Filing Order)
3.     Case Management Plan
4.     Consent Form to Proceed before U.S. Magistrate Judge


                                  CASE ASSIGNMENT

This action has been assigned to the District Judge and Magistrate Judge shown below. All
correspondence and filings should bear the initials of the assigned District Judge and Magistrate
Judge immediately filing the civil action number. (i.e. Civil Action No. 5:15-cv-0123
NAM/DJS). Document should be filed in accordance with General Order #22.

CIVIL CASE NUMBER:             9:24-cv-394 (GTS/ML)

DISTRICT JUDGE:               Hon. Glenn T. Suddaby                                  GTS

MAGISTRATE JUDGE:             Hon. Miroslav Lovric                                   ML



                                  PRO SE LITIGANTS

        Send all original documents for filing to one of the Clerk’s Office listed below:

       Clerk, U.S. District Court                    Clerk, U.S. District Court
       Federal Building & Courthouse                 Federal Building & Courthouse
       P.O. Box 7367                                 15 Henry Street
       Syracuse, NY 13261-7367                       Binghamton, NY 13901


       Clerk, U.S. District Court                    Clerk, U.S. District Court
       James T. Foley U.S. Courthouse                Alexander Pirnie Federal Building
       445 Broadway                                  10 Broad Street
       Albany, NY 12207-2936                         Utica, NY 13501

              All papers filed with the Court must conform to Local Rule 10.1.



                                         COUNSEL

All documents must be filed electronically on the Court’s CM/ECF system. Please refer to
General Order #22 for procedures for filing documents electronically.
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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                             NORTHERN DISTRICT OF NEW YORK

                                         GENERAL ORDER #25

  I.   PURPOSE

       It is the policy of this court to help litigants resolve their civil disputes in a just, timely and cost-
       effective manner. To that end, this court has adopted an Expense and Delay Reduction Plan in
       accordance with the Civil Justice Reform Act of 1990. This will tailor the level of individualized
       case management needs to such criteria as case complexity and the amount of time reasonably
       needed to prepare a case for trial.

 II.   SCOPE
       This order applies to all civil cases filed in this court except: multi-district litigation, cases
       remanded from appellate court, reinstated and reopened cases, and cases in the following Nature of
       Suit (NOS) categories indicated on the JS44 Civil Cover Sheet:
             Prisoner Petitions (463, 510-560)
             Forfeiture/Penalty (625, 690)
             Bankruptcy Appeals (422, 423)
             Social Security Appeals (861-865)
             Real Property (only NOS 220)
             Naturalization Application & Other Immigration Actions (NOS 462, 465)
             Arbitration (NOS 896)
             Contract (only NOS 150 and other contract actions which involve the collection of debts
             owed to the United States)

       *Note – When the Court deems it appropriate, Rule 16 Scheduling Conferences will be held in the
       above excepted actions.
       The Court has adopted the guidelines of civility as outlined in the New York State Bar Association
       Guidelines on Civility in Litigation, a copy of which is available on the court’s website at
       www.nynd.uscourts.gov.

III.   SERVICE

       A. Timing: When serving a Complaint or Notice of removal, the filing party shall serve on all
          other parties a copy of this General Order and attached materials. Service of process should be
          completed within sixty (60) days from the initial filing date. This expedited service is
          necessary to fulfill the dictates of the Civil Justice Reform Act Expense and Delay Reduction
          Plan of this court to ensure adequate time for pretrial discovery and motion practice. However,
          in no event shall service of process be completed after the time specified in Fed. R. Civ. P. 4,
          or any other rule or statute which may govern service of process in a given action.
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       B. Filing Proof(s) of Service: Proof(s) of service of process are to be filed with the clerk’s office
          no later than five (5) days after service of the complaint or notice of removal with a copy of
          this General Order.

       C. Non-Compliance with Sixty (60) Day Service Requirement: In the event that the filing
          party cannot comply with the sixty (60) day service requirement, that party shall immediately
          notify the assigned Magistrate Judge and request an adjournment of the initial Rule 16 case
          management conference date contained in the Civil Case Management Plan.

           If an adjournment of the conference date is granted, it shall be the responsibility of the filing
           party to notify all parties to the action of the new date, time and location for the case
           management conference. Proof of service of such notice shall then be immediately filed with
           the clerk’s office.

IV.    ADDITIONAL PARTIES

       Any party who, after the filing of the original complaint or notice of removal, causes a new party
       to be joined in the action, shall promptly serve on that new party a copy of General Order #25
       along with any additional Uniform Pretrial Scheduling Order that has been entered by the Court.

 V.    REMOVED CASES

       In cases removed to this court from a state court, the removing defendant(s) shall serve on the
       plaintiff(s) and all other parties, at the time of service of the notice of removal, a copy of this
       General Order with the attached materials. The filing of a motion for remand does not relieve the
       moving party of any obligation under this General Order unless the assigned judge or magistrate
       judge specifically grants such relief.

VI.    TRANSFERRED CASES

       The clerk shall serve a copy of this General order on all parties that have appeared in any action
       transferred to this district. The clerk shall set a return date for the initial Rule 16 case management
       conference on the form attached to the General Order. It shall be the obligation of the plaintiff or
       plaintiff’s counsel to arrange for completion of the attached Case Management Plan and to file the
       Plan with the clerk and to serve this General Order upon any party who had not appeared in this
       action at the time of transfer. Attorneys appearing in transferred cases are reminded of their
       obligation to be property admitted to this district in accordance with Local Rule 83.1. Attorneys
       must also be registered for electronic filing. Refer to Section XII of this General Order.

VII.   ADR PROGRAMS
       It is the mission of this court to do everything it can to help parties resolve their disputes as fairly,
       quickly, and efficiently as possible. The court has adopted a Mandatory Mediation Program – see
       General Order #47 available on the Court’s website. All civil cases that are not exempt under
       General Order #47 and are filed after January 1, 2014, as well as all cases where a Rule 16
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         Conference is scheduled after January 1, 2014, will be placed into the Mandatory Mediation
         Program. The Court may also refer the other pending cases into the Mandatory Mediation
         program. The parties are directed to review the Mandatory mediation Plan requirements prior to
         the Rule 16 case management conference. At the Rule 16 conference, the assigned Magistrate
         Judge will set a deadline for the completion of Mediation under General Order #47. The referral
         of a case to the Mandatory Mediation Program does not delay or defer other dates establishes in
         the Scheduling Order and has no effect on the scheduled progress of the case toward trial.

         A. Settlement Conferences: The parties are advised that the court will honor a request for a
            settlement conference at any stage of the proceeding. A representative of the parties with the
            authority to bind the parties must be present with counsel or available by telephone at any
            settlement conference.

         B. Consent to Jury or Court Trial Before A United States Magistrate Judge: By stipulation,
            the parties to any civil action may elect to have a magistrate judge (instead of the assigned
            Article III judge) conduct all proceedings in any civil case, including presiding over a jury or
            bench trial. A trial before a magistrate judge is governed by the same procedural and
            evidentiary rules as trial before a district judge. The right to appeal is automatically preserved
            to the United States Court of Appeals under the same standards which govern appeals from an
            Article III judge. Parties often consent to resolution of their civil dispute by magistrate judge
            bench or jury trial because magistrate judges have less crowded calendars.

      VIII.    DISCOVERY

         A. Discovery Motions: Prior to bringing a discovery dispute to a Magistrate Judge, the parties
            must confer in good faith in accordance with the provisions of Local Rule 37.1(b). In addition,
            no non-dispositive or discovery motions should be presented to the Court unless authorized by
            the Magistrate Judge after communication with the Magistrate Judge’s chambers.

         B. Filing Discovery: Parties are directed not to file discovery material unless it is being filed in
            accordance with Local Rule 26.2.

              For additional information on local requirements related to depositions and discovery, please
              refer to Section V. of the Local Rules of this court.

IX.      MOTIONS

         A. Motions: Motions are decided without oral argument unless scheduled by the Court. For
            additional information on local requirements related to motion practice, please refer to Local
            Rule 7.1.

X.       CASE MANAGEMENT CONFERENCE

         Except in actions exempted under Section II of this order, or when otherwise ordered by the court,
         the parties shall, as soon as practicable, but no later than twenty-one (21) days before the Rule 16
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      conference, confer to jointly address each item contained in the attached Case Management Plan
      packet. The completed plan is to be filed with the clerk not later than seven (7) days prior to the
      conference date. The NOTICE setting the date, time and location for the initial Rule 16 conference
      with the court is included as part of this filing order. Mandatory disclosures under Fed. R. Civ. P.
      26(a) shall be exchanged at least seven (7) days prior to the conference date, unless the parties
      have obtained prior approval from the assigned Magistrate Judge to extend that deadline. The
      Civil Justice Reform Act Plan of this court requires the court to set “early, firm” trial dates, such
      that the trial is scheduled to occur within eighteen (18) months after the filing of the complaint,
      unless a judicial officer certifies that (i) the demands of a case and its complexity make such a trial
      date incompatible with serving the ends of justice; or (ii) the trial cannot reasonably be held within
      such time because of the complexity of the case or the number or complexity of pending criminal
      cases.

XI.   ELECTRONIC FILING

      As of January 1, 2014, all documents submitted for filing by attorneys admitted to practice in the
      Northern District of New York shall be filed electronically using the CM/ECF system. Refer to
      General Order #22 for procedures for filing documents electronically. Attorneys must be
      registered for both PACER and CM/ECF. Consult with the CM/ECF section of the court’s website
      at www.nynd.uscourts.gov for PACER registration, CM/ECF registration, and General Order #22.

      REVISED GENERAL ORDER #25
      Dated: September 16, 2022




      Revision History:

      1/3/2010 added Magistrate Judge Andrew T. Baxter.
      4/18/2011 added U.S. District Judge Mae A. D’Agostino and Magistrate Judge Victor E. Bianchini.
      12/16/2011 reflects Hon. Gary L. Sharpe as Chief Judge.
      2/10/2012 added Magistrate Judge Therese Wiley Dancks.
      9/1/20212 added Magistrate Judge Christian F. Hummel.
      10/1/2012 reflects the retirement of Senior Judge Neal P. McCurn.
      10/25/2013 includes information on Mandatory Mediatory – See General Order #47.
      11/4/2013 includes changes to deadlines for mandatory disclosures under Fed. Rule 26(a), and changes the date
      for the filing of the civil casement management plan from 14 days prior to the conference to 7 days prior to the
      conference.
      12/29/2014 added U.S. District Judge Brenda K. Sannes.
      10/01/2015 reflects Hon. Glenn T. Suddaby as Chief Judge, added Magistrate Judge Daniel J. Stewart, and
      reflects the retirement of Hon. Randolph F. Treece.
      1/1/2016 reflects Hon. Gary L. Sharpe taking senior status.
      6/23/2016 relates to Amended General Order #47 Mandatory Mediation Program.
      7/23/2019 added Magistrate Judge Miroslav Lovric and removed Magistrate Judge David Peebles.
      12/4/20 corrected Local Rule numbers referenced in accordance with changes to the 2021 Local Rules and
      removed all motion return dates and references to oral argument.
      9/16/2022 reflects Hon. Brenda K. Sannes as Chief Judge, format changes, and minor revisions, incl. Civil Case
      Management Plan.
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                                CIVIL CASE MANAGEMENT PLAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________

Peter Rupp


   vs                                                    Case No.         9:24-cv-394 (GTS/ML)

Asat M.J. Younis, et al

__________________________________________

IT IS HEREBY ORDERED that, pursuant to Rule16(b), Federal Rules of Civil Procedure, a status
and scheduling conference will be held in this case before the Honorable MIROSLAV LOVRIC,
United States Magistrate Judge, on July 24, 2024, at 2:30. The Courtroom Deputy for Judge Lovric will
provide counsel for the parties, and any unrepresented parties, with instructions on how to dial into his
audio conference line for the Rule 16 conference.

Counsel for all parties or individuals appearing pro se in the above-captioned action are directed to
confer in accordance with Fed. R. Civ. P. 26(f) with respect to all of the agenda items listed below, no
later than twenty-one (21) days before the scheduled Rule 16 Conference. Following that Rule 26(f)
meeting, a report of the results of the conference, in the format set forth below, must be filed with the
clerk no later than seven (7) days prior to the scheduled Rule 16 conference with the Court. Matters
which the Court will discuss at the status conference will include the following: (insert a separate
subparagraph as necessary if parties disagree):

 1.     JOINDER OF PARTIES: Any application to join any person as a party to this action shall be
        made on or before _____________.

 2.     AMENDMENT OF PLEADINGS: Any application to amend the pleadings to this action shall
        be made on or before _____________.

 3.     DISCOVERY: All discovery in this action shall be completed on or before ___________.
        (Discovery timetable is to be based on the complexity of the action)

 4.     MOTIONS: All motions, including discovery motions, shall be made on or before
        _____________. (Non-Dispositive motions including discovery motions may only be
        brought after the parties have complied with Section IX of General Order #25)
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5.    EXPERT WITNESS DISCLOSURE: Plaintiff's Expert Witness disclosure shall be exchanged
      on or before ____________________ (at least 90 days before the close of discovery).
      Defendant's Expert Witness disclosure shall be exchanged on or before ____________ (at least
      45 days before the close of discovery). Rebuttal Expert Witness Disclosure shall be exchanged
      on or before ____________ (at least 30 days before the close of discovery).

6.    MANDATORY MEDIATION: A stipulation selecting mediator must be filed on or before
      ____________. Mediation must be completed on or before ____________.

7.    PROPOSED DATE FOR THE COMMENCEMENT OF TRIAL: The action will be ready
      to proceed to trial on or before _____________. It is anticipated that the trial will take
      approximately _______ days to complete. The parties request that the trial be held in
      _______________, N.Y. (The proposed date for the commencement of trial must be within
      18 months of the filing date).

8.    Have the parties filed a Jury Demand? _____(YES) _____(NO).

9.    What is the basis of the Court’s subject matter jurisdiction? If it is diversity jurisdiction
      under 18 USC § 1332(a), does the complaint allege the citizenship of each party, including
      the citizenship of all members of any LLC or partnership? See 250 Lake Avenue
      Associates, LLC v. Erie Insurance Co., 281 F. Supp 3d 335, 341 (W.D.N.Y. 2017) (“[A]n
      LLC has the citizenship of each of its members for diversity jurisdiction purposes.”)
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________

10.   Are the parties subject to the Court’s jurisdiction? Have all parties been served?
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________


11.   What are the factual and legal bases for Plaintiff’s claims and Defendant’s defenses
      (including counterclaims and crossclaims, if applicable)?
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________
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12.    What factual and legal issues are genuinely in dispute?
       _______________________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________

13.    Can the issues in litigation be narrowed by agreement or by motions? Are there
       dispositive or partially dispositive issues appropriate for decision on motion?
       _______________________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________

14.    What specific relief do the parties seek? What are the damages sought?
       _______________________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________
       _______________________________________________________________________

15.    DISCOVERY PLAN

      A. Mandatory Disclosures
         The parties will exchange the mandatory disclosures required under Rule 26(a)(1) at least
         seven (7) days prior to the date of the Rule 16 conference, unless they have obtained prior
         approval from the assigned Magistrate Judge to extend that deadline.
         _______________________________________________________________________

      B. Subjects of Disclosure
         The parties jointly agree that discovery will be needed to address the following subjects:
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________

      C. Discovery Sequence
         Describe the parties' understanding regarding the timing of the discovery, and state
         whether it is anticipated that discovery will be phased to address different issues in stages.
         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________
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D. Written Discovery
   Describe the written discovery demands which the parties contemplate serving under Rules 33,
   34 and 36, including when they will be promulgated, that areas to be covered, and whether there
   is any need for any party to exceed the number of interrogatories permitted under Rule 33.
   _____________________________________________________________________
   _____________________________________________________________________
   _____________________________________________________________________

E. Depositions
   Set forth the parties' expectations regarding depositions, including the approximate number to
   be taken, their location, a general description of the deponents, and an indication of whether
   any non-party fact depositions are anticipated.
   _____________________________________________________________________
   _____________________________________________________________________
   _____________________________________________________________________


F. Experts
   Set forth the parties' expectations regarding the retention of experts, and identify any
   particular issues to be addressed by the court concerning the retention and exchange of the
   information regarding experts, including whether the parties seek a variance from the expert
   disclosure requirements of the form uniform pretrial scheduling order typically issued by the
   court (i.e., initial expert disclosure at least ninety days, responsive expert disclosures at least
   forty-five days, and rebuttal reports due at least thirty days, before the close of discovery).
   _____________________________________________________________________
   _____________________________________________________________________
   _____________________________________________________________________

G. Electronic Discovery
   Set forth the parties' understanding and expectations regarding discovery of electronically
   stored information. This description should include any agreements reached with respect to
   the retention of electronically stored information and the manner in which it will be produced,
   if requested. The parties should also identify any agreements regarding the manner in which
   electronically stored information subject to claims of privilege or work product protection will
   be handled, and whether a court order will be requested, either on stipulation or otherwise, to
   address this issue. If an agreement has been reached on the entry of such an order, provide a
   brief description of the provisions which will be included in a proposed order.
   ______________________________________________________________________
   ______________________________________________________________________
   ______________________________________________________________________
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      H. Protective Orders
         If the parties anticipate requesting a protective order from the court pursuant to Rule 26(c),
         describe the basis for the request and nature of the proposed protective order.
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________

      I. Anticipated Issues Requiring Court Intervention
         Provide a brief description of any discovery related issues which, the parties reasonably
         anticipate, may require court intervention.
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________

16.    Is it possible to reduce the length of trial by stipulations, use of summaries or statements,
       or other expedited means or presenting evidence? Is it feasible and desirable to bifurcate
       issues for trial?
       __________________________________________________________________________
       __________________________________________________________________________
       __________________________________________________________________________
       __________________________________________________________________________

17.    Are there any related cases pending before the Judges of this Court?
       __________________________________________________________________________
       __________________________________________________________________________
       __________________________________________________________________________
       __________________________________________________________________________

18.    In Class Actions, when and how will the class be certified?

       __________________________________________________________________________
       __________________________________________________________________________
       __________________________________________________________________________
       __________________________________________________________________________


19.    What are the prospects for settlement? Please check below the prospect for settlement:

       1 ____ 2 ____ 3____ 4____ 5 ____ 6 ____ 7 ____ 8 ____ 9 ____ 10 ____
          (Very unlikely →     →      →      →      →      →      Likely)

       A. Settlement cannot be evaluated prior to ______________________ (Date).
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      B. How can settlement efforts be assisted?
         __________________________________________________________________
         __________________________________________________________________
         __________________________________________________________________
         (Do not indicate any monetary amounts at this time, settlement will be explored by the
         Magistrate Judge at the time of the initial status conference)


 Complete Question 19 only if your filing order Cover Sheet was checked as an ADR Track
 case – Subject to Mandatory Mediation under General Order #47.

20.   If your case was selected as a qualifying mandatory mediation case, confirm that you
      have:

      A. Reviewed General Order #47                           Yes ___ No ___

      B. Reviewed the List of Court Approved                  Yes ___ No ___
         Mediators available on the NDNY website?

      C. Prepared to discuss with the Court, at the           Yes ___ No ___
         conference, whether your case should be
         opted out of the program?

      D. Discussed the time frame needed to                   Yes ___ No ___
         complete Mandatory Mediation?



 Pursuant to Fed. R. Civ. P. 25(f), a meeting was held on ____________
 and was attended by:                                        (Date)

 ___________________________ for plaintiff(s)

 ___________________________ for defendant(s) _____________________________

 ___________________________ for defendant(s) ____________________________

 At the Rule 16(b) conference, the Court will issue an order directing the future proceedings in this
 action. The parties are advised that failure to comply with this order may result in the imposition of
 sanctions pursuant to Federal Rules of Civil Procedure 16(f).

 Please detach this case management plan form and file electronically with the clerk no later than
 seven (7) days in advance of the conference date.
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                                  CONSENT TO THE EXERCISE
                    OF CIVIL JURISDICTION BY A MAGISTRATE JUDGE


In accordance with the provisions of 28 U.S.C. Section 636(c), you are hereby notified that the
United States Magistrate Judges of this district court, in addition to their other duties, may, upon
consent of all the parties in a civil case, conduct any or all proceedings in the case, including a jury or
non-jury trial, and order the entry of a final judgment.

You should be aware that your decision to consent to the referral of your case to a United States
Magistrate Judge for disposition is entirely voluntary and should be indicated by counsel endorsing
the attached consent form for the plaintiff(s)and defendant(s). If the form is executed by all counsel
for the parties (or by the parties if appearing pro se), it should be communicated solely to the clerk of
the district court. ONLY if all the parties to the case consent to the reference to a magistrate judge
will either the judge or magistrate judge to whom the case has been assigned be informed of your
decision.

Your opportunity to have your case disposed of by a magistrate judge is subject to the calendar
requirements of the court. Accordingly, the district judge to whom your case is assigned must
approve the reference of the case to a magistrate judge for disposition.

In accordance with 28 U.S.C. Section 636(c)(3), an appeal from a judgment entered by a magistrate
judge will be taken to the United States Court of Appeals for this judicial circuit in the same manner
as an appeal from any other judgment of a district court. See Also L.R. 72.2(b)(5).


Copies of the consent form are available in any office of the clerk of the court and on the court web-
page at www.nynd.uscourts.gov.

     **ATTACHED FOR YOUR CONSIDERATION IS A BLANK CONSENT FORM**




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AO 85 (rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF NEW YORK
_______________________________________

Peter Rupp

                                      Plaintiff,               Civil Action No. 9:24-cv-394 (GTS/ML)
           -vs-
Asat M.J. Younis, et al

                             Defendant.
________________________________________

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

    Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final
judgment. The judgment may then be appealed directly to the United States court of appeals like any other
judgment of this court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

     You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

     Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate
judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

             Parties’ printed names                     Signatures of parties or attorneys                Dated




                                                   Reference Order

IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order
the entry of final judgment in accordance with 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73.

Date:        ___________________               __________________________________________
                                                      District Judge’s signature

                                               __________________________________________
                                                      Printed name and title
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NOTE:   Return this form to the clerk of court only if you are consent to the exercise of jurisdiction by a United
        States magistrate judge. Do NOT return this form to a judge or file on the docket, unless it has been
        signed by all parties to the action.
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